                 Case 2:20-cv-01491-RSM Document 13 Filed 11/06/20 Page 1 of 1



 1
                                                            HONORABLE RICARDO S. MARTINEZ
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   BROOKS SPORTS, INC., a Washington               )   Case No. 2:20-cv-01491-RSM
     corporation,                                    )
10                                                   )   ORDER GRANTING STIPULATIED
                                      Plaintiff,     )   MOTION FOR EXTENSION OF TIME
11                                                   )   TO FILE ANSWER OR OTHERWISE
               v.                                    )   RESPOND
12                                                   )
     SPARC Group, LLC, a Delaware limited            )
13   liability company,                              )
                                                     )
14                                  Defendant.       )
                                                     )
15

16            This matter having come before the Court on the parties’ Stipulated Motion for Extension

17   of Time to File Answer or Otherwise Respond, the Court, having reviewed the Stipulated Motion

18   hereby extends the deadline for Defendant to File Answer or Otherwise Respond in the above-

19   captioned case by thirty (30) days, IT IS SO ORDERED. The deadline for Defendant to File

20   Answer or Otherwise Respond has been extended to December 5, 2020.

21            DATED this 6th day of November, 2020.

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24                                                 A
                                                   RICARDO S. MARTINEZ
25                                                 CHIEF UNITED STATES DISTRICT JUDGE

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27

     ORDER GRANTING STIPULATED MOTION TO                                  LANE POWELL PC
                                                                   1420 FIFTH AVENUE, SUITE 4200
     EXTEND TIME TO ANSWER OR OTHERWISE
                                                                            P.O. BOX 91302
     RESPOND                                                     SEATTLE, WASHINGTON 98111-9402
     CASE NO. 2:20-cv-01491-RSM - 1                                 206.223.7000 FAX: 206.223.7107
     133488.0001/8252128.1
